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       Monday, December 18, 2023
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        Redistricting: Szetela Files
        Paperwork To Have Eid Removed
        A member of the Independent Citizens Redistricting Commission on
        Friday accused a colleague of misconduct – alleging he drew districts to
        help his acquaintances gain elected office – an allegation the
        commissioner vehemently denied.

        The matter is just another instance of drama between commissioners
        since their mapmaking work was completed in late 2021, with
        Commissioner Rebecca Szetela again accusing Commissioner Anthony
        Eid of using his position on the commission for either personal or
        political gain.

        Szetela on Friday filed a notice to have Eid removed from his post and
        his seat declared vacant. Eid's removal would ultimately be a
        commission decision, requiring 10 commissioners to vote for his
        removal at an upcoming meeting.

        At present, Szetela only has the support of Commissioner Rhoda Lange,
        a frequent critic of the commission's work and practices, and potentially
        Commissioner Erin Wagner, who has been Lange's ally when she's
        lodged complaints in the past.

        Eid, in an interview with Gongwer News Service, denied the allegations
        and pointed to Szetela causing disruptions in the commissioners' work
        by going after her colleagues and ICRC administrative staff, including its
        attorneys, when they disagreed with her.

        Szetela, in response, told Gongwer that it wasn't personal, and that as
        attorney by trade, she was "a rules follower" who wanted to ensure
        public trust in what was by all accounts a messy process.

        Szetela's filing states that she believes Eid abused his position to draw
        House District 20 in favor of Democrats, knowing that a Bloomfield-area
        activist, current Rep. Noah Arbit, would be running for office. Szetela

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        also stated she believed Eid made House District 15 favorable for a
        college acquaintance, Bilal Hammoud, who unsuccessfully ran in the
        2022 Democratic primary but lost to current 15th District Rep. Erin
        Byrnes.

        Like Eid, Arbit denied having known the commissioner prior to his work
        on the ICRC and first met Eid at a public hearing to gain input on
        potential mapping decisions.

        A copy of the filing was provided to Gongwer News Service, but it will
        be made publicly available when the commission sets its next meeting
        date. A Department of State spokesperson said a copy of the notice will
        be attached in upcoming meeting materials.

        The existence of the document was first reported by The Detroit News.

        Szetela claims that Eid described himself as "friends" with Arbit. She
        claims to have observed Eid spending a significant amount of time
        talking to Arbit at a June 2021 meeting. Arbit submitted a community
        map on July 18, 2021, and later announced his House candidacy August
        27, 2021.

        The commissioner wrote Eid became "intently focused on redrawing the
        House and Senate districts that included West Bloomfield and Orchard
        Lake" and began "advocating for changes to the already-drawn House
        and Senate districts that contained West Bloomfield and Orchard Lake –
        the very areas identified by Arbit in his draft map."

        Szetela further claimed Eid privately contacted commissioners and
        consultants outside of public meetings and suggested revisions affecting
        West Bloomfield, Orchard Lake, Sylvan Lake and Keego Harbor. Eid
        resides in Orchard Lake.

        Various text messages between Szetela and Eid were highlighted in the
        notice filed with the Department of State.

        Eid attended what Arbit called a fundraiser for his campaign in 2022,
        with the two posing for a picture posted to Arbit's Instagram account,
        but Eid said it was actually a townhall and he attended a similar one for
        a Republican candidate, who is Chaldean like Eid and a member of his
        church.

        The 15th District allegations read along the same lines, accusing Eid of
        actively making the district safely Democratic to assist Hammoud, who



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        attended Wayne State University at the same time as Eid. The two were
        noted to be members of the Student Senate together.

        Szetela wrote that, as with Arbit, Eid previously described Hammoud as
        his "friend" in discussions with MICRC commissioners, staff and
        consultants. She claims Eid was also witnessed speaking to Hammoud at
        length at MICRC events.

        "In what can be charitably described as a curious twist of fate," Szetela
        wrote, "Hammoud also happened to work on the implementation of
        Proposal 2 as an employee of the Michigan Department of State, as is
        evident from the banner picture on his LinkedIn page (displaying him at
        a Department of State event discussing the MICRC)."

        Szetela and Lange posited Eid used his position to benefit them, even
        though Hammoud handily lost the district. Still, they said the Arbit
        connection was cause to remove him from his post.

        "When a member of the MICRC prioritizes personal relationships with
        friends who are politicians or candidates for office in making map-
        drawing decisions, it results in political power being taken from the
        people and placed into the hands of a select few – who can manipulate
        the maps to their benefit," Szetela wrote in the filing. "These types of
        back-room dealings were the very type of transactions that Michigan
        voters had sought to prevent by implementing Proposal 2. … Eid has
        fallen well short of these standards."

        A U.S district judge overseeing Agee v. Benson, a lawsuit alleging the
        commission made race a predominant factor in building districts in
        violation of the U.S. Voting Rights Act, could very well nullify key
        districts and soon call the group back to the drawing board. Szetela has
        all but sided with the plaintiffs in their belief the commission violated
        Section 2 of the VRA.

        In an interview with Gongwer, Szetela said she was concerned Eid could
        influence the maps if they are called back, and she filed the complaint to
        limit his access to any new maps.

        "Frankly, there's more than just these two cases. There's been multiple
        complaints that have come into the commission about side discussions
        and districts being drawn favorably to Democratic candidates. But we
        weren't aware of that until after the maps were approved," Szetela said.
        "Now, we're aware of that as commissioners, and there's a potential that
        we could have to draw maps again. And if that happens, there's a pretty


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        strong contingent of commissioners who frankly feel that (Eid) should
        never touch one of our maps again."

        It would take 10 commissioners to vote in favor of removing Eid. Szetela
        said it was hard to tell if she had the votes.

        "There's a general consensus that Commissioner Eid is not honest
        among commissioners, whether they're going to be willing to remove
        him or not remains to be seen. If they aren't willing to remove him, I
        think there's other things and steps that we can take to limit his ability to
        impact maps, such as not allowing him to draw on collaborative maps,
        or maybe just redrawing anything that he does if he has a turn," she
        said. "There are other things we can do. This is kind of the first step and
        if we don't achieve what Commissioner Lange and I are asking for, there
        are other … things coming to kind of protect the public from this sort of
        malfeasance."

        Eid called the allegations preposterous, and another example of Szetela
        sowing chaos as a commissioner. He was confident that Szetela didn't
        have the votes to remove him and that most commissioners would stand
        by him if a vote occurred.

        "Rebecca has been throwing my name in the dirt for quite some time
        now," Eid said. "I'm not very concerned. I think that anyone who's been
        paying attention to the process can see through these veiled accusations.
        It's not only that she's come after me. It seems like she has come after
        every person that disagrees with her. She came after our old general
        counsel, that led to her resigning. She has come after other
        commissioners. It just seems like there's a pattern … and I find it very
        interesting this happening now after she accused our lawyers of having
        a conflict of interest."

        SZETELA AT THE FOREFRONT OF SEVERAL DISPUTES: In the past
        year, Szetela has questioned Eid's fitness for his post and was
        instrumental in raising conflict of interest concerns against him when he
        obtained a job with social justice nonprofit. Eid eventually resigned from
        his job with Michigan Voices, which was involved in public comment
        that had an impact on end-game map changes.

        It was the second time Eid accepted employment, but then quickly
        resigned from a group involved in the making of district maps. In 2022,
        Eid took a job with Asian and Pacific Islander American Vote at the same
        time the group was involved in a lawsuit against the commission. The
        group, sometimes called APIA, also requested the commission to "keep

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        the Bengali community together" during the map-making process. Eid
        left the APIA after two weeks.

        Szetela's complaint led to an investigation, but commissioners in charge
        of the inquiry said no violations occurred.

        During the final throes of the mapmaking process, former General
        Counsel Julianne Pastula abruptly resigned following a public dispute
        over legal advice that Szetela raised. While Pastula did not say why she
        was resigning, their dispute was front and center for the public to see.
        Pastula now works for the city of Detroit.

        More recently, Szetela questioned the ability of commissioners Doug
        Clark and Dustin Witjes to serve since they are no longer residing in
        Michigan. Clark is seeking cancer treatment out of state but said he still
        has a residence in Michigan. Witjes moved to Illinois for work.

        As the group was gearing up for the November bench trial in Agee,
        Szetela confronted the ICRC with a proposal to allow the body, which is
        funded by taxpayer resources, to pay for individual legal representation
        outside of the firms hired to defend the commission and its maps in
        court. She was concerned the body's litigation attorneys were
        mispresenting her in appearances in filings.

        Testimony from Szetela and a dissent she filed after the maps were
        adopted would later become evidence used by the Agee plaintiffs at
        trial.

        "She said it under oath that she went on her own volition and reached
        out to plaintiffs to … provide them with information to help their case,
        essentially to undermine the commission," Eid said.

        Eid said he felt this was an act of sabotage on Szetela's part.

        Eid further argued that aside from not being friends with either Arbit or
        Hammoud, Orchard Lake and its adjacent West Bloomfield was his
        home, and that he had a deep interest in listening to public comment
        from that area.

        "It's a Middle Eastern community of interest. So, she's right, I did take
        special interest in those two districts, but it wasn't to help one person or
        another. It's because I'm a part of those communities, and it's because I
        wanted to listen to the public comments in those two communities," Eid
        said. "From folks who, at least in West Bloomfield, have had a history of
        being systemically gerrymandered for political gain, and in Dearborn

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        and Dearborn Heights, the Middle Eastern community, who to this day,
        doesn't have a checkbox on the census. The population is a VRA
        protected group. I just wanted to make sure that the people in that
        community had their say, at having the chance to have representation.
        The public comments for both of those configurations were vast. They're
        some of the highest public comment that we had."

        Szetela has long said the commission didn't do enough to listen to
        public commentary that would have maybe helped them draw better
        maps. Although Eid said he was doing that, Szetela said there was a key
        difference: the potential relationship he had with Arbit and Hammoud.

        "I want to make it very clear, I am not saying Arbit or Hammoud told Eid
        to go draw districts for them. I don't know if that happened or not.
        However, Anthony has an obligation as a commissioner to make sure
        he's not drawing districts to favor a candidate running for office," she
        said. "It's perfectly fair for Arbit to submit a map. It's perfectly fair for
        Hammoud to submit a map. What's not OK is for Anthony to then take
        that map, knowing that they're running for office or knowing that they're
        planning on running for office, inserting into the commission maps and
        not make any mention of it to the commissioners."

        In an interview, Arbit told Gongwer that Szetela's accusations were
        "patently absurd."

        "It's the height of lunacy, frankly," referencing a tweet from a Gongwer
        reporter in 2021 showing that Eid was not the only one to help create
        the district in which he ran in and won. "I know that the commission is
        having a lot of inner turmoil, and it seems this is sort of another
        symptom of that – where they're kind of sniping at each other and going
        at each other's throats."

        Arbit argued that greater West Bloomfield was an area where
        Republicans, who were in control of the 2010 mapmaking process,
        "took a butcher's knife to Lisa Brown's district to gerrymander her out of
        office, to divide her base of support, which was the Jewish community,
        to create a basically two red districts out of a blue leaning seat in West
        Bloomfield."

        West Bloomfield is one of the only communities in the entire state of
        Michigan that we could find that was gerrymandered and divided in the
        2010 map, Arbit said.

        "That is also something that was recognized by the community, which is
        why I was far from the only person to speak before the redistricting
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        commission to talk about greater West Bloomfield being kept together,"
        Arbit said. "There were literally probably 50 or so people, you can go
        on the portal, you can look, I mean, there are just so many comments
        about it."

        Arbit denied knowing Eid personally, having only met him during the
        redistricting process, and that he had not decided to run for office well
        after he spoke to Eid and before the maps were finalized in late
        December 2021.

        ICRC Executive Director Edward Woods III, in a statement, said the
        commission will review Szetela's and Lange's allegations "and render a
        finding in compliance with the Michigan Constitution and its Rules of
        Procedure."

        Szetela said she didn't believe her recent allegations against commission
        members had worn their patience thin or made them unwilling to work
        with her.

        "I think at the end of the day, they respect my opinion, and we might
        ultimately disagree and they might ultimately say, 'No, we're not going to
        vote to remove Mr. Eid,' but they respect the fact that I'm raising it,"
        Szetela said. "There's no bias here. There's no politics. It's about we are
        stewards of the public; we have an obligation to follow the law. And to
        the extent I see it's not being followed, I'm going to raise that up and
        bring it to the attention of the public because I think it's my obligation to
        do that."

                                                                      – By Ben Solis

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